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                            UNITED STATES DISTRICT COURT

                                 DISTRICT OF NEVADA

MICHAEL ERWINE,

       Plaintiff,​ ​   ​     ​     ​       ​     3:24-cv-00045-MMD-CSD

v. ​       ​       ​   ​     ​     ​       ​     NOTICE OF APPEAL

UNITED STATES OF AMERICA, et al.,​​

       Defendants. ​   ​     ​     ​

______________________________________/

           Notice is hereby given that MICHAEL ERWINE, Plaintiff in the above-named

case, hereby appeals to the United States Court of Appeals for the Ninth Circuit from

the Judgment entered in this action on April 23, 2025 in favor of Defendants Zachary

Westbrook, John Leonard, Michel Hall, and Gene M. Burke [ECF No. 131] in Exhibit 1.

                            REPRESENTATION STATEMENT

           The undersigned represents Plaintiff MICHAEL ERWINE and no other party.

Pursuant to Rule 12(b) of the Federal Rules of Appellate Procedure and Circuit Rule

3-2(b), Plaintiff-Appellant submits this Representation Statement. The following list
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identifies all parties to the action, and it identifies their respective counsel by name,

firm, address, telephone number, and e-mail, where appropriate:

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       Defendants-Appellees:

       United States of America

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                                             Dated: May 12, 2025

                                             By: /s/ Luke Busby      ____      ​
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                                 Exhibit List



        1.​ Judgment in Civil Case




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                              CERTIFICATE OF SERVICE

      I certify that on the date shown below, I caused service to be completed of a true

and correct copy of the foregoing Document by:

       ______ personally delivering;
       ______ delivery via Reno/Carson Messenger Service;
       ______ sending via Federal Express (or other overnight delivery service);
           _ depositing for mailing in the U.S. mail, with sufficient postage affixed
thereto; and/or,
          X_ delivery via electronic means (fax, eflex, NEF, etc.) to:

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      Gene M. Burke
      POB 685
      Ridgefield, WA 98642

         ​                           DATED this: May 12, 2025

                                 ​      ​       ​     By: __ /s/ Luke Busby, Esq




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